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                                                                                                    9/6/2016 9:38:23 AM
                                                                                                                     Velva L. Price
                                                                                                                     District Clerk
                                            0-1-GN-16-004260                                                        Travis County
                              CAUSE NO.                          _                                                D·1-GN·16-004260
                                                                                                                      Ruben Tamez
                                                             53RO
RAUL TORRES-ATLENZO,                         §      .INTHE                                        DISTRICT COURT
       Plaintiff,                            §
                                             §
v.                                           §      IN AND FOR
                                             §
STERICYCLE, INC.,                            §
STERICYCLE COMMUNICATION                     §
SOLUTIONS, INC., STERICYCLE                  §
E~V1RONMENTAL SOLUTIONS,                     §
INC., STERICYCLE SPECIALTY                   §
WASTE SOLUTIONS, I~C, AND                    §
KEISHA FOWLER                                §
       Defendants,                           §      TRAVIS COUNTY, TEXAS

                PLAINTIFF'S ORlGINAL PETITION ANDJURY DEMAND

       COMES NOW Plaintiff,          Raul Torres-Atlenzo, and tiles this Original Petition

complaining of Defendants Stericycle, lnc., Stericycle Communication Solutions, Inc., Stericycle

Environmental Solutions, Inc., Stericycle Specialty Waste Solutions, Inc., and Keisha Fowler,

and would respectfully show the Court as follows:

                                         I. DISCOVERY

       1.      Pursuant to Rule 190.4 of the Texas Rules of Civil Procedure, Plaintiff intends to

conduct discovery in this case under Level 3 of the Texas Rules of Civil Procedure.

                                          II. PARTIES

       I.      Plaintiff is an individual and resident of Albuquerque, New Mexico.

       2.      Defendant Keisha Fowler is an individual residing in Round Rock, Williamson

County, Texas. Defendant may be served with process at 512 Ft. Thomas Place, Round Rock,

Texas 78664, or wherever she may be found.




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         3.    Defendant Stericycle, Inc. is a foreign for profit corporation. It may be served

through its registered agent CT Corporation System, 1999 Bryan St., Ste 900, Dallas, TX 75201,

or wherever it may be found.

         4.    Defendant Stcricycle Communication Solutions, Inc. is a foreign for profit

corporation. It may be served through its registered agent CT Corporation System, 1999 Bryan

St., Ste 900, Dallas, TX 75201, or wherever it may be found.

         5.    Defendant Stericycle Environmental Solutions, Inc. is a foreign for profit

corporation. It may be served through its registered agent CT Corporation System, 1999 Bryan

St., Stc 900, Dallas, TX 75201, or wherever it may be found.

         6.        Defendant Stericycle Specialty Waste Solutions, Inc. is a foreign lor profit

corporation. It may be served through its registered agent CT Corporation System, 1999 Bryan

St., Ste 900, Dallas, TX 75201, or wherever it may be found.

                                  III.VENuE & JUlUSDICTlON

         I.    Plaintiff suffered damages in excess of the minimum jurisdictional limit of this

Court.

         2.    Venue is proper in Travis County, Texas pursuant to Section lS.002(a)(1) of the

Texas Civil Practice and Remedies Code because it is the county where the incident made the

basis of this lawsuit occurred.


         3.    Plaintiff believes that the determination of damages in this case should rest

squarely within the province of the jury; however, changes in the law now require Plaintiff to

enumerate a range with his initial pleading. Such a range is provided without the benefit of any

discovery in this case and without a full understanding of all the facts a jury will likely review

when considering the ultimate resolution. As required by the law, Plaintiff would state that
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pursuant to TEX, R, Crv, P. 47(c), Plaintiffs seek monetary relief over $100,000.00 but less than

$200,000.00.

                                             IV. FACTS


         1.     On or about July 9,2015, Defendant Fowler was operating a commercial vehicle

owned by Stericycle Defendants. Defendant Fowler was traveling eastbound in the 19200 block

ofFM 812 in Travis County, Texas. Plaintiff was traveling on the same road, ahead of Defendant

Fowler. Plaintiff was attempting to tum len. into a mechanic shop when Defendant Fowler

attempted to pass when unsafe and struck Plaintiff.

         2.     As a result of this collision, Plaintiff suffered personal injuries, expenses for

medical treatment, and other damages.

                                    V. DISCOVERY REQUESTS

         1.     Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendants are

requested to disclose, within fifty (50) days of service of this request, the information or material

described in Rule 194.2. Further, pursuant to Texas Rules of Civil Procedure 196, 197, and 198,

Defendants are served, contemporaneously with the service of this Original Petition, requests for

admission, interrogatories, and requests for production, to which answers and responses will

similarly be due within fifty (50) days from the date of service.

                     VI. CAliSES OF ACTION AGAINST DEFENDANT FOWLER

:'-legligence

         I.     Defendant Fowler's negligence was the sole proximate cause andlor a proximate

cause of the collision described above. Defendant owed a duty La exercise ordinary care and

operate her vehicle in a reasonable and prudent manner. Defendant breached that duty and was

negligent. Defendant's negligence includes but is not limited to the following:
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        a. In attempting to pass when unsafe;

        b. In failing to maintain a proper lookout;

        c. In failing to maintain her attention on the road while traveling; and

        d. In operating a vehicle in a careless manner.

Negligence per se

        2.      Defendant    Fowloer    violated   Texas Transportation   Code Section    545.054 by

attempting passing to the left when unsafe. In pertinent part, this statute reads as follows:

An operator may not drive on the left side of the center of the roadway in passing another vehicle
unless the left side is clearly visible and free of approaching traffic [or a distance su11icientto
permit passing without interfering with the operation of the passed vehicle.
Acts 1995, 74th Leg., ch. 165, Sec. 1, eff Sept. 1, 1995.

        This section prohibits certain actions and/or creates a standard of conduct. Defendant's

conduct represents an unexcused violation of these standards. Plaintiff belongs to the class of

persons which these statutes were meant to protect and the harm or injury is generally of the type

this statute seeks to prevent.

Gross Negligence

        3.      When viewed objectively from the standpoint of Defendant Fowler at the time of

the occurrence, Defendant's conduct involved an extreme degree of risk when considering the

probability and magnitude of the potential harm to others. 1n addition, Defendant was actually,

subjectively aware of the risk involved but nevertheless proceeded with conscious indifference to

the rights, safety, or welfare of others, which constitutes gross negligence as that term is defined

pursuant to Section 41.001(11) of the Texas Civil Practices and Remedies Code. Therefore,

Plaintiff seeks exemplary damages in an amount to be determined by the trier of fact.
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           4.           The grossly negligenl acts and/or omissions of Defendant were the sole proximate

cause and/or a proximate cause of the occurrence in question and Plaintiffs                                resultant injuries and

damages.

                           VII. CAUSES OF ACTION AGAINST STERICYCLE DEFENDANTS

Respondeat Superior

       1. Upon information and belief, all of the entities named as defendants are related
entities        and     will     hereafter     be     referred       to    as     the   "Stericycle    Defendants."     Stericycl.e

Defendants            are vicariously        liable for the damages proximately                  caused to Plaintiff by virtue

of the negligent           conduct of its employee.                   At the time of the incident made the basis of

this suit, an employee                of Stericycle         Defendants       was acting within the course and scope of

her employment                 with   Stericycle       Defendants           and    was negligent       in proximately      causing

injuries/damages               to the Plaintiff.           Therefore,       Stericycle    Defendants     are vicariously     liable

to Plaintiff           for the negligent            acts    and/or        omissions      of its employee      on the basis       of

Respondeat Superior.


Negligence of Stericvcle Defendants

           2.           Stericycle     Defendants'           negligence         was the sole proximate         cause    and/or    a

proximate cause of the incident made the basis of this suit. Stericycle Defendants owed a duty to

exercise ordinary care and act                as a reasonably prudent trucking company. Stericycle Defendants

breached these duties and were negligent. Stericycle Defendants' negligence includes but is not

Iimited to the following:

           a,           In hiring Defendant Fowler to be a driver;

           b.           In failing to conduct a thorough and proper investigation                             into the record.
                        background, and or quali fications of Defendant Fowler;

           c.           In retaining Defendant Fowler as a driver when it knew or reasonably should have
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               known that she was incompetent andlor dangerous;

       d.      In failing to adequately train and instruct Defendant Fowler as a driver of a
               commercial motor vehicle;

       c.      In failing to adequately supervise Defendant Fowler in the discharge of her duties
               as an operator of a commercial motor vehicle, including but not limited to, failure
               to enforce disciplinary policies and procedures;

       f.      In failing to implement andlor enforce adequate policies and procedures for the
               safe operation of commercial motor vehicles;

       g.      In negligently controlling Defendant Fowler's operation of the tractor;

       h.      in failing to exercise control over Defendant Fowler as a reasonable and prudent
               employer and trucking company would have done under the same or similar
               circumstances;

       Each of the above acts andlor omissions were singularly andlor cumulatively a proximate

cause of the occurrence in question and the resulting injuries and damages sustained by Plaintiff

Negligent Entrustment

       3.      Stericycle Defendants are further liable to Plaintiff for entrusting a vehicle to

Defendant Fowler for the purpose of operating it on the public streets and highways of Texas,

and Defendant Fowler operated it with the knowledge, consent, and permission of Stericycle

Defendants. At such time, Defendant Fowler was incompetent and unfit to safely operate a motor

vehicle on the public streets and highways. Stericycle Defendants knew, or in the exercise of due

care, should have known, that Defendant Fowler was a reckless, incompetent and unsafe driver

and would create and unreasonable risk of danger to persons and property on the public streets

and highways of Texas.

Gross ~egligence

       4.      When viewed objectively form the standpoint of the Stericycle Defendants at the

time of the occurrence, Stericycle Defendants' conduct involved an extreme degree of risk,
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considering the probability and magnitude of the potential harm to others. In addition, the

Stericycle Defendants were actually, subjectively aware of the risk involved, but nevertheless

proceeded with conscious indifference to the rights, safety, or welfare of others, which

constitutes    gross negligence as that term is defined pursuant to §41.00 I(11), Texas Civil

Practice and Remedies Code. Therefore, Plaintiff seeks exemplary damages in an amount to be

determined by the trier of fact.

        5.      Furthermore, Stericycle is liable for punitive damages because:

       a)       Defendant Stericycle authorized the doing and manner of a grossly negligent act,

       b)       Defendant Stcricycle was reckless in employing unfit agents/employees,

       c)       An agent(s)iemployee(s) ofStericycle Defendant was grossly negligent and was

                employed in a managerial capacity and was acting in the scope of their

                employment,

       d)       Stericycle Defendants or a manager of Stericycle Defendant ratified or approved a

                grossly negligent act.

       6.       Whenever it is alleged that the Stericycle Defendant acted or failed to act, it is

alleged it did so by and through its officers, agents, employees, principals. and vice-principals

acting within the course and scope of their employment, agency. or other relationship.

       7.       The grossly negligent acts andior omissions of the Stericycle Defendants were a

proximate and/or producing cause of the occurrence in question and Plaintiff s resultant injuries

and damages.
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                                               VIII. DAMAGES


        1.     As a direct and proximate result of Defendants' negligence, Plaintiff sustained

injuries and is entitled by law to be compensated for such damages. These damages include, but

are not limited to, the following:

       a.      Physical pain, suffering and mental anguish sustained in the past;

       b.      Physical pain, suffering and mental anguish that, in reasonable probability,

               Plaintiff will sustain in the future;

       c.      Loss of wages sustained in the past;

       d.      Loss of wage earning capacity that, in reasonable probability, Plaintiff will

               sustain in the future;

       c.      Physical impairment sustained in the past;

        [      Physical impairment that, in reasonable probability, Plaintiff will sustain in the

               future;

       g.      Medical care in the past;

       h.      Medical care that, in reasonable probability, Plaintiff will sustain in the future;

                                         IX. JURY DEMAND

        1.     Plaintiff hereby demands a trial by jury and herewith tenders payment of the jury
fee,
                                        X. RULE 193.7 NOTICE


        1.     Pursuant to Rule 193.7 of the Texas Rules of Civil Procedure, Plaintiff hereby

gives actual notice to Defendants that any and all documents and materials produced in response

to written discovery may be used as evidence in this case; and, that any such materials may be

used as evidence against the party producing the document at any pretrial proceeding and/or at
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the trial of this matter without the necessity of authenticating        the document and/or materials

produced in discovery.


                                                XI. PRAYER

       WHEREFORE,            premises considered, Plaintiff respectfully   requests that Defendants be

cited to appear and answer and that upon final trial by jury, Plaintiff recovers against Defendants:

       a)          Compensatory      and exemplary damages as set forth above;

       b)          Pre-judgment and post-judgment interest;

       c)          Costs of court;

       d)          Such other, further, and different relief to which Plaintiff may show himself justly

       entitled.

                                                          Respectfully Submitted,

                                                          FADDUOL, CLUFF, HARDY         & CONAWAY, P.e.
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                                                          Odessa, Texas 79761
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